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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                   AT LOUISVILLE

IN RE: AMAZON.COM, INC., FULFILLMENT CENTER FAIR LABOR STANDARDS ACT
(FLSA) and WAGE AND HOUR LITIGATION

               Master File No. 14-MD-2504                    JUDGE HEYBURN
               MDL No. 2504

       THIS DOCUMENT RELATES TO:
             Rosenthal, et al. v. Amazon.com, Inc., et al., 3:14-cv-00208-JGH
             Davis, et al. v. Amazon.com, Inc., et al., 3:14-cv-00150-JGH
             Gibson, et al. v. Amazon.com, Inc., et al., 3:14-cv-00215-JGH
             Hernandez, et al. v. Amazon.com, Inc, et. al., 3:14-cv-00210-JGH


                              STIPULATION OF DISMISSAL

       NOW, this 12th day of February, 2015, IT IS HEREBY STIPULATED that the above-

referenced ROSENTHAL, DAVIS, GIBSON, and HERNANDEZ actions are DISMISSED IN

THEIR ENTIRETY, with the parties bearing their own costs. This dismissal is with prejudice

as to the Fair Labor Standards Act (“FLSA”) claims of the Originating and Opt-In Plaintiffs and

without prejudice as to any state law claims that may be asserted in some other or future action.

The Clerk of Court shall mark these four actions CLOSED.

FOR DEFENDANTS:                                     FOR THE ROSENTHAL, DAVIS,
                                                    GIBSON, AND HERNANDEZ
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                           February
       SO ORDERED this _____ day of 18, ___________________,
                                        2015                 2015.


                                                 _____________________________
                                                 HON. JOHN G. HEYBURN II
                                                 United States District Court




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